             Case 23-90786 Document 1058 Filed in TXSB on 04/30/25 Page 1 of 8




                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION


    In re:                                                  Chapter 7
                                                            (Previously Chapter 11)
    SMILEDIRECTCLUB, INC., et al.,1
                                                            Case No. 23-90786 (CML)

                                   Debtors.                 (Jointly Administered)


     DIP AGENT AND INTERESTED PARTIES’ (I) STATEMENT OF THE ISSUES ON
     APPEAL, (II) DESIGNATION OF ITEMS TO BE INCLUDED IN THE RECORD ON
         APPEAL, AND (III) CERTIFICATION OF NO TRANSCRIPTS ORDERED

             Pursuant to Rules 8009(a)(1) and 8009(b) of the Federal Rules of Bankruptcy Procedure

(the “Bankruptcy Rules”), Cluster Holdco LLC, in its capacity as administrative agent and

collateral agent (the “DIP Agent”), by and through its counsel, DLA Piper LLP (US), and David

Katzman, Steven Katzman, Susan Greenspon Rammelt, Kyle Wailes, Richard Schnall, and

Camelot Venture Group (collectively, the “Interested Parties” and together with the DIP Agent,

the “Joint Appellants”), hereby respectfully submit the following: (I) statement of issues to be

presented on appeal, (II) designation of items to be included in the record on appeal, and (III)

certification of no transcripts ordered with respect to the appeal.

             The appeal is pending before the United States District Court for the Southern District of

Texas at Civil Action 4:25-cv-1771.




1
  A complete list of each of the Debtors in these chapter 7 cases may be obtained on the website of the Debtors’
solicitation agent (as defined herein) at https://restructuring.ra.kroll.com/SmileDirectClub. The location of Debtor
SmileDirectClub, Inc.’s principal place of business and the Debtors’ service address in these chapter 7 cases is 1530
Antioch Pike, Antioch, Tennessee 37013.
       Case 23-90786 Document 1058 Filed in TXSB on 04/30/25 Page 2 of 8




I.     STATEMENT OF ISSUES TO BE PRESENTED ON APPEAL

       Joint Appellants submit the following statement of issues on appeal:

       1.      Did the Bankruptcy Court err in granting the Renewed Application for Entry of an

Order Authorizing the Retention and Employment of Orrick, Herrington & Sutcliffe LLP as

Special Litigation Counsel to the Chapter 7 Trustee?

       2.      Even if the Bankruptcy Court properly appointed Orrick, Herrington & Sutcliffe

LLP as Special Litigation Counsel, did the court err by including language in the Order

Authorizing the Retention and Employment of Orrick, Herrington & Sutcliffe LLP as Special

Litigation Counsel that violates the separate “Final Debtor-in-Possession Order” that the court had

entered on November 7, 2023 by allowing the Trustee to pursue claims and causes of action owned

by the DIP Agent.

       3.      Did the Bankruptcy Court err by depriving the Interested Parties of the ability to

develop an evidentiary record before the court issued the Order Authorizing the Retention and

Employment of Orrick, Herrington & Sutcliffe LLP as Special Litigation Counsel to the Chapter

7 Trustee?

       4.      Did the Bankruptcy Court err in denying the DIP Agent’s and Interested Parties

respective Motions to Reconsider the Order Authorizing the Retention and Employment of Orrick,

Herrington & Sutcliffe LLP as Special Litigation Counsel to the Chapter 7 Trustee?


II.    DESIGNATION OF ITEMS TO BE INCLUDED IN THE RECORD ON APPEAL

       The Joint Appellants hereby submit this list of designations to be included in the record

on appeal (including any exhibit, annex, or addendum attached thereto):




                                                2
     Case 23-90786 Document 1058 Filed in TXSB on 04/30/25 Page 3 of 8




                                   Description                                Docket No.

1.    Final Order (I) Authorizing the Debtors to Obtain Postpetition            296
      Financing, (II) Granting Liens and Providing Claims with
      Superpriority Administrative Expense Status, (III) Authorizing the
      Use of Cash Collateral, and (IV) Modifying the Automatic Stay

2.    Agreed Order (I) Authorizing (A) Consensual Use of Cash Collateral        655
      and (B) the Exercise of certain Rights and Remedies Under the Final
      DIP Order, and (II) Granting Related Relief

3.    Stipulation and Agreed Order Extending Certain Consensual Uses of         787
      Cash Collateral Through March 2024

4.    Stipulation and Agreed Order Extending Certain Consensual Uses of         800
      Cash Collateral Through April 2024

5.    Stipulation and Agreed Order Extending Certain Consensual Uses of         811
      Cash Collateral Through May 2024

6.    Stipulation and Agreed Order Extending Certain Consensual Uses of         837
      Cash Collateral, Abandonment of Non-Debtor Foreign Subsidiaries
      Equity Interests, and Related Matters

7.    Declaration of Allison D. Byman in Support of Chapter 7 Trustee’s         844-1
      Motion for Entry of an Order (I) Authorizing and Approving
      Litigation Arrangement, (II) Granting Priming Liens and Providing
      Claims with Superpriority Status, (III) Approving the Payment of
      Certain Related Fees and Expenses, and (IV) Granting Related Relief

8.    Application for Entry of an Order Authorizing the Retention and           847
      Employment of Orrick, Herrington & Sutcliffe LLP as Special
      Litigation Counsel to the Chapter 7 Trustee

9.    D’Aversa Declaration (Exhibit A) to Application for Entry of an Order     847-1
      Authorizing the Retention and Employment of Orrick, Herrington &
      Sutcliffe LLP as Special Litigation Counsel to the Chapter 7 Trustee

10. Order Denying Application to Employ Special Litigation Counsel for          908
    Chapter 7 Trustee

11. October 18, 2024 Hearing Transcript                                         916




                                            3
   Case 23-90786 Document 1058 Filed in TXSB on 04/30/25 Page 4 of 8




                                  Description                                  Docket No.

12. Emergency Motion for Order Confirming Chapter 7 Trustee is                    920
    Authorized and Empowered to Waive the Debtors’ Attorney/Client
    Privileges

13. Objection to Securities Plaintiffs’ Emergency Motion for Order         951
    Confirming Chapter 7 Trustee is Authorized and Empowered to Waive
    the Debtors’ Attorney/Client Privileges and accompanying exhibits 951-1 – 951-14

14. Objection / DIP Agent’s Limited Objection and Reservation of Rights           952
    to Securities’ Plaintiffs’ Emergency Motion for Order Confirming
    Chapter 7 Trustee is Authorized and Empowered to Waive the
    Debtors’ Attorney/Client Privileges

15. Declaration of Ben Winger in Support of Objection / DIP Agent’s               953
    Limited Objection and Reservation of Rights to Securities’ Plaintiffs’
    Emergency Motion for Order Confirming Chapter 7 Trustee is
    Authorized and Empowered to Waive the Debtors’ Attorney/Client
    Privileges and accompanying exhibits

16. Emergency Motion to Continue Hearing on Securities Plaintiffs’                954
    Emergency Motion for Order Confirming Chapter 7 Trustee is
    Authorized and Empowered to Waive the Debtors’ Attorney/Client           954-1 – 954-10
    Privileges and accompanying exhibits

17. Renewed Application for Entry of an Order Authorizing the Retention           957
    and Employment of Orrick, Herrington & Sutcliffe LLP as Special
    Litigation Counsel to the Chapter 7 Trustee

18. D’Aversa Declaration (Exhibit A) to Renewed Application for Entry            957-1
    of an Order Authorizing the Retention and Employment of Orrick,
    Herrington & Sutcliffe LLP as Special Litigation Counsel to the
    Chapter 7 Trustee

19. Order Granting Emergency Motion to Continue Hearing on Securities             959
    Plaintiffs' Emergency Motion for Order Confirming Chapter 7 Trustee
    is Authorized and Empowered to Waive the Debtors' Attorney/ Client
    Privileges

20. December 20, 2024 Status Hearing Transcript                                   966




                                           4
   Case 23-90786 Document 1058 Filed in TXSB on 04/30/25 Page 5 of 8




                                 Description                                Docket No.

21. DIP Agent’s Objection to the Renewed Application for Entry of an           972
    Order Authorizing the Retention and Employment of Orrick,
    Herrington & Sutcliffe LLP as Special Litigation Counsel to the
    Chapter 7 Trustee

22. Motion to Adjourn Trustee’s Renewed Application for Retention of           973
    Orrick or, Alternatively, Objection to Trustee’s Renewed Application
    for Retention of Orrick

23. Declaration of Michael B. Silverstein in Support of Interested Parties’   974
    Motion to Adjourn Trustee’s Renewed Application for Retention of
    Orrick or, Alternatively, Objection to Trustee’s Renewed Application 974-1 – 974-3
    for Retention of Orrick and accompanying exhibits

24. Chapter 7 Trustee’s Omnibus Reply in Support of Renewed Orrick             976
    Retention Application

25. Declaration of Allison D. Byman in Support of Chapter 7 Trustee’s          977
    Omnibus Reply in Support of Orrick Retention Application

26. Declaration of Jeffrey W. McKenna in Support of Chapter 7 Trustee’s        978
    Omnibus Reply in Support of Renewed Orrick Retention Application

27. Emergency Motion, Motion to Compel Orrick to Comply with                   979
    Subpoena

28. Declaration of Michael B. Silverstein in Support of Emergency              980
    Motion to Compel Orrick to Comply with Subpoena and
    accompanying exhibits                                                  980-1 – 980-6

29. Order Adjourning Hearings and Setting Status Conference                    982

30. Response in Opposition to the Insider Defendants’ Emergency Motion         987
    to Compel

31. February 3, 2025 Status Hearing Transcript                                 998

32. Update Pursuant to Court Directive of Non-Party Orrick, Herrington,        999
    & Sutcliffe LLP




                                          5
   Case 23-90786 Document 1058 Filed in TXSB on 04/30/25 Page 6 of 8




                                  Description                                 Docket No.

33. DIP Agent’s Witness and Exhibit List for Hearing on February 14,            1010
    2025 at 9:00 A.M. (CT)
                                                                             1010-13 and
                                                                               1010-16

34. Interested Parties’ Notice of Filing Exhibits for February 14, 2025         1013
    Hearing
                                                                            1013-3, 1013-
                                                                              4, 1013-11,
                                                                            1013-12, 1013-
                                                                             15, 1013-16,
                                                                             and 1013-18

35. Order Granting Renewed Application for Entry of an Order                    1019
    Authorizing the Retention and Employment of Orrick, Herrington &
    Sutcliffe LLP as Special Litigation Counsel to the Chapter 7 Trustee

36. February 14, 2025 Hearing Transcript                                        1024

37. First Supplemental Declaration of Joshua W. Wolfshohl in Connection         1025
    with the Application for Entry of an Order Authorizing the Retention
    and Employment of Porter Hedges LLP as Special Counsel for Allison
    D. Byman, Chapter 7 Trustee

38. DIP Agent’s Motion for Reconsideration of Order Granting Second             1031
    Orrick Retention Application

39. Motion to Reconsider Order Granting Renewed Application                     1032

40. Second Supplemental Declaration of Joshua W. Wolfshohl in                   1034
    Connection with the Application for Entry of an Order Authorizing the
    Retention and Employment of Porter Hedges LLP as Special Counsel
    for Allison D. Byman, Chapter 7 Trustee

41. First Supplemental Declaration of Raniero D’Aversa in Connection            1036
    with the Renewed Application for Entry of An Order Authorizing the
    Retention and Employment of Orrick, Herrington & Sutcliffe LLP as
    Special Litigation Counsel to the Chapter 7 Trustee

42. Trustee’s Objection to Motions to Reconsider                                1046

43. Order Denying Motions for Reconsideration                                   1050



                                           6
       Case 23-90786 Document 1058 Filed in TXSB on 04/30/25 Page 7 of 8




                                        Description                                   Docket No.

    44. DIP Agent’s and Interested Parties’ Joint Notice of Appeal to District           1051
        Court


                                     Reservation of Rights

       The Joint Appellants expressly reserve the right to supplement this designation and the

record on appeal with any relevant materials from the above-captioned chapter 7 bankruptcy cases.



                  Certificate of No Transcript Ordered Re: Notice of Appeal

       The Joint Appellants by and through their undersigned counsel certify, pursuant to Fed. R.

Bankr. P. 8009(b), that they are not ordering additional transcripts with respect to this appeal.

                           [Remainder of page intentionally left blank]




                                                 7
        Case 23-90786 Document 1058 Filed in TXSB on 04/30/25 Page 8 of 8




Dated: April 30, 2025                                Respectfully submitted,

BENESCH, FRIEDLANDER,                                DLA PIPER LLP (US)
     COPLAN & ARONOFF, LLP
                                                      /s/ James P. Muenker
 /s/ Michael B. Silverstein                          James P. Muenker
Michael B. Silverstein (admitted pro hac vice)       845 Texas Avenue, Suite 3800
41 South High Street, Suite 2600                     Houston, Texas 77002
Columbus, Ohio 43215                                 Telephone: (214) 743-4500
Telephone: (614) 223 9300                            Facsimile: (214) 743-4545
Facsimile:    (614) 223 9330                         Email: james.muenker@us.dlapiper.com
E Mail:       msilverstein@beneschlaw.com
                                                     -and-
-and-
                                                     Brett Ingerman (admitted pro hac vice)
Michael D. Meuti (admitted pro hac vice)             Dale K. Cathell (admitted pro hac vice)
Andrew G. Fiorella (admitted pro hac vice)           650 South Exeter Street, Suite 1100
127 Public Square, Suite 4900                        Baltimore, Maryland 21202
Cleveland, Ohio 44114                                Telephone: (410) 580-4177
Telephone: (216) 363 4500                            Facsimile: (410) 580-3177
Facsimile:    (216) 363 4588                         Email: brett.ingerman@us.dlapiper.com
E Mail:       mmeuti@beneschlaw.com                          dale.cathell@us.dlapiper.com
              afiorella@beneschlaw.com
                                                     -and-
-and-
                                                     W. Benjamin Winger (admitted pro hac
David A. Rammelt (admitted pro hac vice)             vice)
71 South Wacker Drive, Suite 1600                    444 West Lake Street, Suite 900
Chicago, Illinois 60606                              Chicago, Illinois 60606
Telephone: (312) 212 4949                            Telephone: (312) 368-4000
Facsimile:     (312) 767 9192                        Facsimile: (312) 236-7516
E Mail:        drammelt@beneschlaw.com               Email: benjamin.winger@us.dlapiper.com

Counsel for the Interested Parties                   Counsel for the DIP Agent and the DIP
                                                     Lenders




                                                 8
